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                                 No. 20-70021

         In the United States Court of Appeals
                 for the Fifth Circuit
                       Travis Dwight Green,
                                                         Petitioner – Appellee,
                                      v.
     Bobby Lumpkin, Director, Texas Department of
  Criminal Justice, Correctional Institutions Division,
                                        Respondent – Appellant.

              On Appeal from the United States District Court
            for the Southern District of Texas, Houston Division

RESPONSE TO PETITION FOR REHEARING EN BANC


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             Certificate of Interested Persons
                                No. 20-70021
                           Travis Dwight Green,
                                                           Petitioner – Appellee,
                                         v.
        Bobby Lumpkin, Director, Texas Department of
     Criminal Justice, Correctional Institutions Division,
                                           Respondent – Appellant.

    Under the fourth sentence of Fifth Circuit Rule 28.2.1, appellant, as a

governmental party, need not furnish a certificate of interested persons.


                                        /s/ Ari Cuenin
                                        ARI CUENIN
                                        Counsel of Record for
                                        Respondent-Appellant




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                        Rule 35(b) Statement
    Travis Green was sentenced to death for raping and murdering a 19-year-old

woman. Green was found competent to represent himself at trial. And his conviction

was upheld on direct appeal and in state-habeas proceedings. But nearly 20 years

later, a district court retrospectively found Green incompetent and granted habeas

relief on a procedurally defaulted due process claim that Green was tried while

incompetent. The district court assumed that the claim was defaulted because Green

had not presented it in state court but found that cause existed to overcome the
default because Green’s state-habeas attorney allegedly abandoned him under

Maples v. Thomas, 565 U.S. 266 (2012). Given that state-habeas counsel timely filed

a state-habeas application for Green, the panel correctly reversed this error. Nothing
warrants en banc review of that unpublished, fact-bound procedural ruling.

    Green first contends that the panel applied the wrong standard of review and

countermanded the district court’s basis for cause in finding that McLean severed
the attorney-client relationship by abandoning Green. But Green misunderstands the

standard of review. Pet. 1. The issue is whether Green lacked cause to overcome

procedural default—a question of law, not a question of fact as Green contends. The

legal existence of a principal-agent relationship was also a question of law. Green

additionally ignores that AEDPA requires deference to state- court factual findings,

28 U.S.C. § 2254(e)(1), and here, a state court found that Green had counsel—the
opposite of abandonment.

    Green also contends that the panel substituted its views of state law for those of

the Texas Court of Criminal Appeals (CCA). Pet. 2. The panel never did so. What


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Green references is a footnote observation regarding the CCA’s discretionary
authority to establish a new filing deadline for habeas applications when counsel fails

to timely file. En banc review is inappropriate for that purely state-law question, and

particularly so given the panel’s fact-bound and well-supported observation that the

CCA declined to exercise any arguable discretion.

    Green suggests further that the en banc Court should address whether

incompetency is a cause external to the defendant that can overcome a procedural

default. But, as the panel noted and as Green does not dispute, the Court has already

said that the answer is “no.” See Gonzales v. Davis, 924 F.3d 236, 244 (5th Cir. 2019).

Instead, Green argues that his petition raises questions about whether a panel is
bound by a published opinion that denies a certificate of appealability (COA). Pet. 2.

The rule of orderliness forecloses Green’s argument, regardless of Green’s views

about COA denials or the rule correctly announced in Gonzales.
    Apart from the defects in Green’s en banc petition, the Court should deny

review because Green is not factually innocent and not entitled to habeas relief under

Crawford v. Cain, 68 F.4th 273 (5th Cir. 2023). The panel properly rejected Green’s
attempt to relitigate his competency to stand trial.




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                          Statement of Issues
I. Did the panel apply the correct standard of review?

II. Is the panel opinion’s footnoted observation about a state court’s discretionary

    power to reschedule habeas deadlines unworthy of en banc review?

III. Is the published opinion of this Court correctly denying a COA in Gonzales v.

    Davis a binding precedential decision?

IV. Should en banc review be denied because Green is not factually innocent?

                        Course of Proceedings
    Petitioner sought federal habeas relief from his capital-murder conviction and
death sentence. Green contended below that he was unconstitutionally tried while

incompetent and that his trial counsel provided ineffective punishment-phase

assistance. ROA.2710. The district court assumed that both claims were
procedurally defaulted because Green had not raised them in state-habeas

proceedings, but it concluded that Green had shown cause to overcome the default

of his competency claim because his state-habeas attorney abandoned him.

ROA.2727. The court also found cause to overcome the default of the ineffective

assistance of trial counsel claim because his state-habeas counsel provided ineffective

representation. ROA.2782-84. The court granted habeas relief on both claims.

ROA.2710. A Fifth Circuit panel reversed. Slip Op. 11. Here, Green disputes only

the competency claim.
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                         Statement of Facts

   I. Green’s Crimes
    In September 1999, Green killed 19-year-old Kristin Loesch in the apartment she

shared with her boyfriend, Bobby Stewart. ROA.6487-99, 6547-48. She suffered

sexual assault, strangulation, and blunt force trauma. ROA.6792-6803. Green

matched Stewart’s description of the suspect. ROA.6647-51. Green also matched a

neighbor’s description of a man seen entering the apartment around the time of

death. ROA.6460-63. Samples from semen and blood stains on the victim’s shirt, a

vaginal swab, and fingernail scrapings matched Green. ROA.6763-74.

   II. Green’s Trial
    Green was charged with capital murder. ROA.4820. Judge Michael McSpadden

appointed counsel for Green. ROA.4822. Green filed a motion expressing his desire

to waive his right to counsel. ROA.4861. Judge McSpadden held a Faretta hearing to
determine whether Green could proceed pro se. ROA.5302-03.1 Green also executed

a written waiver of counsel. ROA.4868. Green indicated that he was “competent

enough and intelligent enough” to represent himself, that he had a right to represent
himself, and that he understood he would be held to the same rules as lawyers.

ROA.5306, 5311-17. Judge McSpadden agreed that existing counsel would remain as

    1
       A hearing under Faretta v. California, 422 U.S. 806 (1975), is to determine
whether a defendant knowingly and intelligently waives his right to appointed
counsel to proceed pro se. See United States v. Cano, 519 F.3d 512, 516 (5th Cir.
2008). The competency required to waive the right to counsel is the same as that
required to stand trial, and the competency needed to defend one’s own case is at
least as high. Appellant Br. 22-24, 36 (citing Dunn v. Johnson, 162 F.3d 302, 307-08
(5th Cir. 1998)).

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standby counsel, but “would be available on a consulting basis only.” ROA.5305,
5315. Judge McSpadden also inquired into Green’s mental-health history and

appointed a doctor to assess Green’s competency, but Green refused to speak to him.

ROA.5312-13, 5042. Judge McSpadden later appointed Tyrone Moncriffe as standby

counsel. ROA.6979, 4870.

    Judge McSpadden was replaced by Judge Robert Jones, who conducted a second

Faretta hearing to vet Green’s waiver. ROA.5323-26. Green indicated he understood

that his waiver might affect appellate rights, and that he would need to follow

evidentiary rules, subpoena witnesses, and file motions properly. ROA.5332-51.

Green listened to admonishments and asked relevant questions. See ROA.5332-53.
Green explained that he was “being charged with capital murder,” and facing “the

death penalty, and that’s what [he was] going to defend” against. ROA.5353. Green

repeatedly stated he was competent and reaffirmed his waiver of counsel. ROA.5338-
57. When Judge Jones inquired into Green’s mental-health history, Green explained

that he had, on occasion, spoken to a psychologist regarding social and economic

issues, but had never been diagnosed with any mental illness or admitted to a mental
institution. ROA.5330-31, 5348-50. Judge Jones deemed Green competent to waive

his rights and proceed pro se. ROA.5359; see also ROA.5965-66, 6415-16.

    Green continued to reaffirm his desire to represent himself throughout voir dire

and trial. E.g., ROA.5421, 5523, 6414, 6697. Through thirteen days of pretrial

proceedings, neither Judge Jones nor the prosecutors noted signs of incompetence.

See ROA.5300-6399. At one point, however, Moncriffe informed the court that he



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observed signs of paranoia; Judge Jones responded that he did not but nevertheless
ordered a psychological assessment. ROA.5965-66.

    Doctor Steven Rubenzer evaluated Green, observed him during voir dire, and

issued a report concluding that Green was competent. ROA.5093-98. Green had no

record of mental illness, and a report from county medical staff assessed Green’s

mental status as normal. ROA.5093. Green’s mother reported no mental illness and

attributed Green’s nervousness and distrust of lawyers to his incarceration and

previous experience. ROA.5094. The bailiff similarly reported that Green told him

he distrusted lawyers because they had lied to him. ROA.5095-96.

    Green actively defended himself. ROA.6419; see, e.g., ROA.6414 (invoking the
Rule); ROA.6464 (asking whether prosecutor had “passed the witness”); ROA.6473

(examining exhibit before agreeing to admission); ROA.6660-61 (objecting to

testimony). But the jury found Green guilty. ROA.6849.
    Just as the punishment phase began, Green informed the court that he

relinquished his right to self-representation. ROA.6861. Moncriffe assumed Green’s

representation. ROA.6861, 6863. Green was ultimately sentenced to death.
ROA.7026. The CCA affirmed on direct appeal. See Ex parte Green, 2013 WL

831504, at *1 (Tex. Crim. App. Mar. 6, 2013) (citing Green v. State, No. AP-74,036

(Tex. Crim. App. June 26, 2002)).

   III. State-Habeas Proceedings
    The trial court appointed Ken McLean to represent Green in state-habeas

proceedings. ROA.7417. McLean filed a state-habeas application in October 2001.



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ROA.7422-35. Green filed another habeas application pro se, but the court dismissed
it because McLean represented Green. ROA.7448.

    In November 2007, the state court ordered the parties to file any supplemental

materials. ROA.7578. In April 2008, after obtaining mental-health records from the

Texas Department of Criminal Justice (TDCJ), McLean filed a “Statement of

Counsel” saying he could not “in good faith file Proposed Findings of Fact and

Conclusions of Law” warranting habeas relief. ROA.7659-61. McLean included that

he reviewed Green’s most recent mental-health examination from May 2007 and

stated, incorrectly, that it contained no indication of mental illness or incompetency.

ROA.7659. Around 2009, McLean died and the state-habeas trial court appointed
Danny Easterling as successor counsel. ROA.7662.

    The trial court recommended denying Green’s application. ROA.7702-04. The

CCA denied relief in 2013. Ex parte Green, No. WR-48,019-02, 2013 WL 831504, at
*1 (Tex. Crim. App. Mar. 6, 2013) (per curiam).

   IV. Federal-Habeas Review
    Green sought federal habeas relief in 2014. ROA.77-316, 352-647. He claimed

that he was incompetent to stand trial and that Moncriffe provided ineffective
punishment-phase assistance. ROA.2710. Green states that both claims were

procedurally defaulted because he failed to raise them in state-habeas proceedings.

Pet. 3-4. The district court found cause to overcome the default of his competency

claim because McLean abandoned him. ROA.2727. The court found cause to

overcome the default of the punishment ineffective-assistance claim because



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McLean provided ineffective assistance as state-habeas counsel. ROA.2782-84. The
court granted relief on both claims. ROA.2710.

    A panel of this Court reversed. Slip Op. 11. It held that Green lacked cause for

the defaulted competency claim because any “abandonment” did not take place

until after McLean’s state-habeas deadline expired. Id. at 7-9. The “default of

Green’s incompetency claim is attributable to McLean’s failure to raise it in Green’s

initial habeas petition—rather than any subsequent abandonment under Maples.” Id.

at 9. Green lacked cause for the ineffective-assistance claim because McLean was not

ineffective. Id. at 10.

                                  Argument

I. Green’s Theory for Overcoming Procedural Default Through
   Constructive “Abandonment” by State-Habeas Counsel Presents No
   Basis for En Banc Review.

    A. The panel correctly applied de novo review to Green’s attempt to
       avoid procedural default by blaming his state-habeas lawyer.
    The panel held, and Green does not dispute, that because he never raised his
competency claim in state court, it was procedurally defaulted. Slip. Op. 6-8; Pet. 3-

4. Green merely rehashes his argument that attorney abandonment is a question of

fact supposedly settled by the district court. See Appellee Br. 24-28; Pet. 8-12. But

the issue was whether cause exists to overcome procedural default, which is a

question of law. “Whether a petitioner has shown cause and prejudice to excuse a

procedural default is reviewed de novo.” Prible v. Lumpkin, 43 F.4th 501, 513 (5th Cir.

2022). The panel applied the well-settled rule that the CCA “will not entertain



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claims that appear for the first time in a successive application.” Slip Op. 8 (citing
Muniz v. Johnson, 132 F.3d 214, 221 (5th Cir. 1998)). Because Green conceded he

was subject to that rule, id., he simply misunderstands the standard of review.

    Regardless, Green is wrong that his theory of alleged attorney “abandonment”

presented a fact question. Contra Pet. 3-4. Cause requires showing “something

external to the petitioner, something that cannot fairly be attributed to him impeded

his efforts to comply with the State’s procedural rule.” Maples, 565 U.S. at 280

(cleaned up). Negligence by state-habeas counsel does not establish cause. Id. at 280-

81. An attorney is an agent, and “the principal bears the risk of negligent conduct on

the part of his agent.” Id. at 281. Attorney abandonment may establish cause because
the attorney “no longer acts, or fails to act, as the client’s representative,” but only

if there is a severing of the principal-agent relationship such that the lawyer’s acts or

omissions cannot be attributed to his client. Id. at 280-81.
    Green advances the district court’s novel theory back-dating “abandonment”

by McLean “from the beginning.” ROA.2731. The legal question was whether

McLean’s actions could be attributed to Green. See Maples, 565 U.S. at 281. Green
could not rely on Maples because he never “even bothered to articulate, let alone

substantiate, a theory of timeliness.” Slip Op. 8. Green also ignores precedent

holding that the legal existence of a principal-agent relationship, when facts are

undisputed, is a legal conclusion reviewed de novo. Karl Rove & Co. v. Thornburgh,

39 F.3d 1273, 1295-96 (5th Cir. 1994). Green instead cites inapposite, out-of-circuit

authority for the proposition that “abandonment” is a fact question. Pet. 9 (citing
Foley v. Biter, 793 F.3d 998, 1003 (9th Cir. 2015)). But Foley is about whether a

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prisoner was abandoned in federal proceedings under well-settled rules for obtaining
Rule 60(b) relief, not procedural default. Foley, 793 F.3d at 1000. Because cause is a

legal conclusion reviewed de novo, see Prible, 43 F.4th at 513, Foley is inapposite.

    Green also ignores that, under AEDPA, the district court lacked authority to

make the supposed factual determination. A “determination of a factual issue made

by a State court shall be presumed to be correct” and petitioners bear “the burden

of rebutting the presumption of correctness by clear and convincing evidence.” 28

U.S.C. § 2254(e)(1). Here, when Green tried filing a pro se state-habeas application,

the state habeas court dismissed it because Green had court-appointed counsel.

ROA.7448. The district court lacked authority to find that McLean abandoned
Green “from the beginning.” ROA.2731.

    B. Green would            improperly       expand     Maples     beyond        actual
       abandonment.
    Maples established a narrow basis for cause where a state-habeas lawyer actually

abandons his client without notice. 565 U.S. at 271. Green does not contend that

McLean actually abandoned him. He contends that, despite litigating, McLean

constructively abandoned him through poor representation. Supreme Court

precedent contravenes that expansion of Maples. Coleman v. Thompson held that

“[a]ttorney ignorance or inadvertence is not ‘cause’ because the attorney is the

petitioner’s agent when acting, or failing to act, in furtherance of the litigation, and

the petitioner must bear the risk of attorney error.” 501 U.S. 722, 753 (1991). Maples

reaffirmed that “[n]egligence on the part of a prisoner’s postconviction attorney




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does not qualify as ‘cause.’” 565 U.S. at 280 (quoting Coleman, 501 U.S. at 753). The
Court never “disturb[ed] that general rule.” Id. at 281.

    Green suggests that even though McLean did timely file an application, his

failure to advance specific issues meant that Green never had representation. See Pet.

10; ROA.1034-46 (McLean’s application). But “no other court of appeals has held

that a lawyer abandons his client despite filing a brief on his behalf,” and this Court

should “not be the first to extend Maples in this fashion.” Young v. Westbrooks, 702

F. App’x 255, 265 (6th Cir. 2017). Failure to raise issues that a client would like to

argue is not abandonment. Ibarra v. Thaler, 691 F.3d 677, 685 n.1 (5th Cir. 2012),

vacated in part on other grounds on reh’g sub nom. Ibarra v. Stephens, 723 F.3d 599 (5th
Cir. 2013); Wilkins v. Stephens, 560 F. App’x 299, 304 (5th Cir. 2014). Expanding

Maples would swallow Coleman.

II. The Panel’s Observation About an Unfavorable Exercise of State-Law
    Discretion for Habeas Deadlines Is Unworthy of En Banc Review.
    The panel observed in a footnote that Texas law gives the CCA discretion to
extend deadlines where counsel untimely files or fails to file a capital-habeas

application. Slip Op. 8 n.1 “[O]n command” of the CCA, an attorney “shall show

cause as to why the application was untimely filed or not filed before the filing date.”

Tex. Code Crim. Proc. art. 11.071, § 4A(a). The court may find good cause absent

and dismiss the application, permit counsel to continue the representation and

establish a new deadline, or appoint new counsel and establish a new deadline. Id.

§ 4A(b)(1)-(3). The panel noted that Green had presented concerns about counsel

to the CCA, but the CCA declined to exercise any such discretion. Slip Op. 9 n.1.


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    Green quibbles with this footnote. But “matters of state law are rarely worthy of
en banc review,” which concerns the “most important federal law issues” that

require “a definitive statement on the law by the full court.” In re Air Crash Disaster

Near New Orleans, 821 F.2d 1147, 1169 n. 38 (5th Cir. 1987) (en banc), vacated on

other grounds sub. nom. Pan Am. World Airways, Inc. v. Lopez, 490 U.S. 1032, 1033

(1989). That Green disputes a state-law question about Section 4A and its fact-bound

application is reason enough to deny review. Regardless, Green’s complaints are

meritless.

    First, Green contends that Section 4A applies only in cases of attorney

abandonment and, therefore, referencing Section 4A is a tacit finding that McLean
abandoned Green. Not so. Nothing in Section 4A mentions attorney abandonment.

See Tex. Code Crim. Proc. art. 11.071, § 4A. To the contrary, Section 4A expressly

contemplates continued representation by counsel who has failed to timely file an
application, so Section 4A cannot be limited to attorney abandonment. See id.

§ 4A(b)(2). Nor does the CCA limit Section 4A to abandonment. Contra Pet. 13.

Green invokes a case in which state-habeas counsel intentionally filed an application
that did not satisfy pleading requirements because counsel “intended to force [the

CCA] to readdress the pleading requirements.” Ex parte Medina, 361 S.W.3d 633,

635 (Tex. Crim. App. 2011). The court equated counsel’s intentional “desire to

challenge the established law at the peril of his client,” with a “fail[ure] to file a

cognizable writ application,” and thus the CCA appointed new counsel. Id. at 643.

The panel’s opinion does not conflict with Medina, which involved expressly “sui
generis” facts and never found abandonment within the meaning of Maples. Id.

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    Green next contends that if Section 4A provided any post-filing remedy, then
McLean’s “abandonment” after that deadline provided cause. Pet. 13. But Section

4A did not provide such a remedy for Green. McLean filed a timely habeas

application, and the deadlines for its claims had long passed by the time McLean

obtained the disputed 2007 mental-health report, Slip Op. 10; ROA.1034-46, 7676,

so Section 4A is inapplicable, see Tex. Code Crim. Proc. art. 11.071, § 4A(a)-(b). Nor

was McLean’s application like the one in Medina, in which counsel intentionally

jeopardized his client’s interest to further his own views of the law. 361 S.W.3d at

643. Moreover, Medina was inapposite because here the CCA signified that Green

had filed a timely state-habeas application by ruling on it. See id. at 634-35.
    Green also argues that if Section 4A applies, then no default occurred because

he could still exhaust that remedy. Pet. 14. Green confuses procedural default with

exhaustion. See Norman v. Stephens, 817 F.3d 226, 231 n.1 (5th Cir. 2016). The
supposed remedy is not available to Green, which the Director has never

affirmatively waived. See Coleman v. Goodwin, 833 F.3d 537, 541 (5th Cir. 2016). And

as the district court stated, Green “wrote several letters to the [CCA] between 2003
and 2008, which . . . expressed frustration over his attorneys’ complete lack of

communication with him.” ROA.2728-29; see ROA.7759-60, 7781; see also

ROA.7793 (2010 letter). As the panel explained, on this record, the CCA was

necessarily aware of the alleged “abandonment” but declined to exercise any Section

4A discretion. See Slip. Op. 9 n.1. A fact-bound “state law issue” is not “worthy of

en banc dissertation.” Air Crash, 821 F.2d at 1169 n.38.



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III. Green’s Attack on Gonzales v. Davis Violates the Rule of Orderliness
     and Is Unworthy of En Banc Review.
    Green’s final argument contravenes the rule of orderliness. Green argued “that

his incompetence throughout the state-habeas proceedings provide[d] an alternative

basis for satisfying cause.” Slip Op. 9 n.2. The panel correctly footnoted that the

argument was foreclosed by Gonzales, which held that mental incompetency cannot

establish cause. Id. (citing Gonzales, 924 F.3d at 244).

    Green contends that Gonzales cannot have bound the panel because that case

denied a COA. Pet. 17. True, “a merits panel is not bound by a motions panel,”
Trevino v. Davis, 861 F.3d 545, 548 n.1 (5th Cir. 2017), but that statement references

panels in the same case, see id; see also ODonnell v. Salgado, 913 F.3d 479, 482 (5th

Cir. 2019). That rule cannot alter the rule of orderliness: “one panel may not
overrule a prior decision, right or wrong unless there is an intervening change of

authority.” Hines v. Quillivan, 982 F.3d 266, 271 (5th Cir. 2020) (cleaned up). Green

suggests that Gonzales was non-precedential because Gonzales’s denial of a COA
precluded merits-review jurisdiction. Pet. 17 (citing Buck v. Davis, 137 S. Ct. 759, 773

(2017)). But even under that theory, Green ignores that considered jurisdictional

rulings are precedential. See Exelon Wind 1, L.L.C. v. Nelson, 766 F.3d 380, 393 (5th

Cir. 2014). And subsequent panels cannot disregard prior rulings because they deem

them incorrect. Hines, 982 F.3d at 271.

    Nevertheless, Gonzales is correct. Cause requires “something external to the

petitioner.” Maples, 565 U.S. at 280. Incompetency is not “external.” Gonzales, 924

F.3d at 244. Other deficits like illiteracy, deafness, and lack of legal training are not



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“external” either. United States v. Flores, 981 F.2d 231, 236 (5th Cir. 1993). No
conflict exists between such authority and Maples’s “agency principles.” Pet. 16.

Green states that “an incompetent person cannot appoint an agent.” Id. But that

principle is irrelevant to court-appointed agents. See 3 Am. Jur. 2d Agency § 11.

IV. Green Cannot Obtain Relief Because He Is Factually Guilty.
    Alternatively, the Court should deny review because Green is not factually

innocent and cannot obtain relief. After the panel ruled, this Court substituted an

opinion in Crawford v. Cain, 68 F.4th 273, 279 (5th Cir. 2023), explaining that
“‘even if a prisoner overcomes’” limits like procedural default, “‘[h]e must still

persuade a federal habeas court that law and justice require [relief],’” id. at 285-86

(quoting Shinn v. Ramirez, 142 S. Ct. 1718, 1731 (2022)). “Law and justice do not
require habeas relief . . . when the prisoner is factually guilty.” Id. at 287.

    Green is factually guilty. “Factual innocence is an assertion by the defendant

that he did not commit the conduct underlying his conviction.” Id. at 288. Green
disputes competency to stand trial, not the ample evidence that he raped and killed

Kristin Loesch. See supra p.2.

    That is not to say that competency is wholly beyond federal courts’ reach. For
instance, under Ford v. Wainwright, 477 U.S. 399 (1986), “[p]rior findings of

competency do not foreclose a prisoner from proving he is incompetent to be

executed because of his present mental condition.” Panetti v. Quarterman, 551 U.S.

930, 934 (2007). But that claim provides no basis for relief from Green’s underlying

conviction and is unripe because Green lacks an execution date. See Green v. Thaler,



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699 F.3d 404, 410 n.3 (5th Cir. 2012). The panel properly rejected Green’s attempt
to challenge his competency to stand trial.

                                 Conclusion
    The petition for rehearing en banc should be denied.

                                       Respectfully submitted.

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